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1    E. MARTIN ESTRADA
     United States Attorney
2    MACK E. JENKINS
     Assistant United States Attorney
3    Chief, Criminal Division
     ALEXANDER H. TRAN (Cal. Bar No. 338940)
4    Assistant United States Attorney
     General Crimes Section
5         1200 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-0758
7         Facsimile: (213) 894-0141
          E-mail:    alexander.tran@usdoj.gov
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     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA
10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 2:23-cr-00488-DSF

13              Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                              (1) CONTINUANCE OF TRIAL DATE AND
14                    v.                      (2) FINDINGS OF EXCLUDABLE TIME
                                              PERIODS PURSUANT TO SPEEDY TRIAL
15   TREVOR HURD,                             ACT
       aka “C-Mac,”
16                                            CURRENT TRIAL DATE:        01-30-24
                Defendant.                    PROPOSED TRIAL DATE:       04-30-24
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19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Alexander H. Tran,
22   and defendant Trevor Hurd (“defendant”), both individually and by and
23   through his counsel of record, Deion A. Benjamin, hereby stipulate as
24   follows:
25        1.    The Indictment in this case was filed on October 4, 2023.
26   Defendant first appeared before a judicial officer of the court in
27   which the charges in this case were pending on December 5, 2023.              The
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1    Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

2    trial commence on or before February 13, 2024.

3         2.    On December 5, 2023, the Court set a trial date of January

4    30, 2024 and a status conference date of December 11, 2023.

5         3.    Defendant is detained pending trial. The parties estimate

6    that the trial in this matter will last approximately 2-3 days.

7         4.    By this stipulation, defendant moves to continue the trial

8    date to April 30, 2024.      This is the first request for a continuance.

9         5.    Defendant requests the continuance based upon the following
10   facts, which the parties believe demonstrate good cause to support
11   the appropriate findings under the Speedy Trial Act:
12              a.    Defendant is charged with a violation of 18 U.S.C. §
13   922(g)(1):   Felon in Possession of Ammunition.         The government has
14   produced discovery to the defense, including 212 pages of law
15   enforcement reports, photographs, criminal history records, and audio
16   and video recordings.
17              b.    Defense counsel represents that he is presently
18   scheduled to be in the following jury trials: (1) People v. Taj

19   Condoll (Case# BA503065 CCB Courthouse), trial date in January 2024;

20   (2) People v. Bryan Rachal (Case# BA492783 CCB Courthouse), trial

21   date in March 2024; (3) People v. Makelle Womack (Case# BA501735 CCB

22   Courthouse), trial date in March 2024; and (4) People v. Reginald

23   Hardin (Case# BA492895-03 CCB Courthouse), trial date in April 2024.

24   Accordingly, defense counsel represents that he will not have the

25   time that he believes is necessary to prepare to try this case on the

26   current trial date.

27              c.    In light of the foregoing, counsel for defendant also

28   represents that additional time is necessary to confer with

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1    defendant, conduct and complete an independent investigation of the

2    case, conduct and complete additional legal research including for

3    potential pre-trial motions, review the discovery and potential

4    evidence in the case, and prepare for trial in the event that a

5    pretrial resolution does not occur.        Defense counsel represents that

6    failure to grant the continuance would deny him reasonable time

7    necessary for effective preparation, taking into account the exercise

8    of due diligence.

9               d.     Defendant believes that failure to grant the
10   continuance will deny him continuity of counsel and adequate
11   representation.
12              e.     The government does not object to the continuance.
13              f.     The requested continuance is not based on congestion
14   of the Court’s calendar, lack of diligent preparation on the part of
15   the attorney for the government or the defense, or failure on the
16   part of the attorney for the Government to obtain available
17   witnesses.
18        6.    For purposes of computing the date under the Speedy Trial

19   Act by which defendant’s trial must commence, the parties agree that

20   the time period of the date of the corresponding Order to April 30,

21   2024, inclusive, should be excluded pursuant to 18 U.S.C.

22   §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv) because the delay

23   results from a continuance granted by the Court at defendant’s

24   request, without government objection, on the basis of the Court’s

25   finding that: (i) the ends of justice served by the continuance

26   outweigh the best interest of the public and defendant in a speedy

27   trial; (ii) failure to grant the continuance would be likely to make

28   a continuation of the proceeding impossible, or result in a

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1    miscarriage of justice; and (iii) failure to grant the continuance

2    would unreasonably deny defendant continuity of counsel and would

3    deny defense counsel the reasonable time necessary for effective

4    preparation, taking into account the exercise of due diligence.

5         7.    Nothing in this stipulation shall preclude a finding that

6    other provisions of the Speedy Trial Act dictate that additional time

7    periods be excluded from the period within which trial must commence.

8    Moreover, the same provisions and/or other provisions of the Speedy

9    Trial Act may in the future authorize the exclusion of additional
10   time periods from the period within which trial must commence.
11        IT IS SO STIPULATED.
12   Dated: 12/13/2023                    Respectfully submitted,

13                                        E. MARTIN ESTRADA
                                          United States Attorney
14
                                          MACK E. JENKINS
15                                        Assistant United States Attorney
                                          Chief, Criminal Division
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                                          ALEXANDER H. TRAN
18                                        Assistant United States Attorney

19                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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